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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

Civil Action No. 20-cv-1372-WJM,
Consolidated with Civil Action Nos. 20-cv-1395-WJM, 20-cv-1723-WJM, 20-cv-1724-
WJM

(Bankruptcy No. 10-37635-KHT)

IN RE:

STONE PINE INVESTMENT BANKING, LLC,

     Debtor.
______________________________________________________________________

(Adv. Pro. No. 12-01680-KHT)

JACK TAKACS,

         Appellant,

v.

DAVID E. LEWIS, as Chapter 7 Trustee
for STONE PINE INVESTMENT BANKING, LLC,

         Appellee.


               ORDER AFFIRMING DECISION OF BANKRUPTCY COURT


         This matter comes before the Court on four bankruptcy appeals brought by

Appellant Jack Takacs (“Takacs”) and by Paul Bagley, Donald Jackson, HLPEF/SP

Management, LLC, Princeton Partners, and American National Security Management,

LP (“ANSM”) (collectively, “Appellants”), as well as cross-appeals filed by David E.

Lewis, as Chapter 7 Trustee for Stone Pine Investment Banking, LLC (the “Trustee”).

         Also before the Court are the Motion of Defendant/Appellant Jack Takacs to
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Strike Appellee’s Cross-Appeal from Bankruptcy Court’s June 5, 2020 Order (“Motion to

Strike Cross-Appeal”) (ECF No. 15) and the Appellants’ Motion to Strike Appellee’s

Appendix Entry (“Motion to Strike Appendix Entry”) (ECF No. 46).

      For the reasons explained below, this Court affirms the Bankruptcy Court’s

rulings, denies as moot the Motion to Strike Cross-Appeal, and grants the Motion to

Strike Appendix Entry.

                                I. STANDARD OF REVIEW

      In reviewing a bankruptcy court’s decision, the district court functions as an

appellate court and is authorized to affirm, reverse, modify, or remand the Bankruptcy

Court’s rulings. 28 U.S.C. § 158(a); Fed. R. Bankr. P. 8013. As the appellate court, the

district court has discretion to affirm “on any ground adequately supported by the

record, so long as the parties have had a fair opportunity to address that ground.”

Maldonado v. City of Altus, 433 F.3d 1294, 1302–03 (10th Cir. 2006) (internal citation

and quotation marks omitted).

      “In reviewing a bankruptcy court decision we apply the same standards of review

as those governing appellate review in other cases.” In re Perma Pac. Properties, 983

F.2d 964, 966 (10th Cir.1992) (citation omitted). A bankruptcy court’s legal conclusions

are reviewed de novo, and factual findings are reviewed for clear error. In re Warren,

512 F.3d 1241, 1248 (10th Cir. 2008). On mixed questions of law and fact, the Court

reviews de novo any question that primarily involves the consideration of legal principles

and applies the clearly erroneous standard if the mixed question is primarily a factual

inquiry. In re Wes Dor, Inc., 996 F.2d 237, 241 (10th Cir. 1993).




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                                    II. BACKGROUND

A.     Factual History

       1.     Stone Pine Companies

       In 1994, Bagley formed Stone Pine Capital, LLC. (Appellants’ App’x at 1259.)

He and his business partners conducted investment banking and asset management

activities through entities collectively referred to as the “Stone Pine Companies.” (Id.)

The entities used common letterhead identifying their common practice, as well as

common business cards, and the domain name: thestonepinecompanies.com. (Id.)

       In 1997 and 1998, the Stone Pine Companies were reorganized into three

entities: Stone Pine Investment Banking (“SPIB”), which is the successor in interest to

Stone Pine Capital, LLC; Stone Pine Asset Management (“SPAM”), which later changed

its name to HLPEF/SP Management; and Stone Pine Administrative Services, which

later became Stone Pine Accounting Services (“SPAS”). (Id.)

       From 2000 until 2006, the various Stone Pine entities used a common office

address, the same telephone number, and a joint receptionist. (Id. at 1261.)

       By late 2000, SPIB had the following ownership: Princeton Partners, a general

partnership owned by Bagley and his wife, owned 40%; Takacs owned 40%; and

Jackson owned 20%. (Id. at 1260.) Bagley was SPIB’s sole manager. (Id.)

       2.     Takacs and Matisse Capital Partners

       Takacs was hired to work on transactions and to originate new business

opportunities for one or more of the Stone Pine entities. (Id.) He used business cards

identifying himself as a Managing Director of the “Stone Pine Companies.” (Id.)

       Matisse Capital Partners (“Matisse”) was formed as a wholly-owned subsidiary to

provide restructuring services to companies. (Id.) Takacs was Matisse’s initial
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manager, and Jackson served as Matisse’s Chief Financial Officer. (Id.)

       In 1998, Matisse and Pacific USA Holdings entered into an agreement whereby

Takacs, acting on behalf of Matisse, provided financial consulting and advising services

to Pacific USA. (Id.) Pacific USA paid Matisse for those services, and, in turn, it

transferred the payments to SPIB. (Id.)

       3.     Matisse’s Agreement with American Realty Trust, Inc.

       On April 13, 2000, Matisse entered into a Financial Consulting Agreement with

American Realty Trust, Inc. (“ART”), whereby ART agreed to pay Matisse $200,000 per

month and Bagley agreed to be named as Chief Executive Officer and Chairman of the

Board of ART’s Board of Directors. (Id.) Takacs was named as a Managing Director –

Strategic Development for ART. (Id.)

       However, shortly after Matisse and ART signed the Financial Consulting

Agreement, two executives of ART’s management company (Gene Phillips and Cal

Rossi) were indicted on securities fraud charges. (Id.) The publicity surrounding their

indictment caused ART’s stock price to drop, which led ART’s lenders to make margin

calls. (Id.) In response, Phillip’s son led an effort to obtain forbearance agreements

from ART’s lenders. (Id.)

       Nonetheless, Bagley, assisted by Takacs, negotiated a letter of intent with a

large institutional investment fund containing a no-shop clause that precluded

forbearance agreements. (Id.) Bagley concealed this letter of intent from ART until

after it was executed. (Id.) When the rest of ART’s board of directors learned of the

letter of intent, it terminated Bagley from his CEO and board chair positions and

terminated the Financial Consulting Agreement with Matisse. (Id.)


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       4.     ART Lawsuit

       On June 26, 2000, ART sued Matisse, Bagley, and Takacs in Texas state court

for breach of the Financial Consulting Agreement and breach of their fiduciary duties.

(Id. at 1261.) The case was removed to federal court and, in August 2002, a jury found:

(1) in favor of ART on its breach of contract claims against Matisse, Bagley, and

Takacs; (2) in favor of ART on its breach of fiduciary duty claims against Matisse and

Bagley; and (3) against Matisse on its breach of contract counterclaim. (Id.) However,

the jury awarded no damages.

       In September 2002, the United States District Court for the Northern District of

Texas entered judgment notwithstanding verdict in favor of Matisse, Bagley, and

Takacs, and awarded Matisse a judgment against ART for $4.4 million, plus

prejudgment interest of $624,821.91. (Id.)

       On December 17, 2003, the United States Court of Appeals for the Fifth Circuit

affirmed the district court’s holding that Bagley and Takacs could not be individually

liable for breach of contract, but it reversed the district court’s entry of judgment in favor

of Matisse and against ART on the breach of contract claims and the breach of fiduciary

claims. (Id. at 1263.) The Fifth Circuit then remanded the case for entry of judgment in

favor of ART on its breach of contract and fiduciary duty claims, with no damages to be

awarded on these claims, but with directions to the district court to consider ART’s

entitlement to attorneys’ fees. See Am. Realty Tr., Inc. v. Matisse Cap. Partners LLC,

91 F. App’x 904 (5th Cir. 2003).

       On January 13, 2005, the district court entered judgment in favor of ART in the

amount of $1,389,226.52 for ART’s attorneys’ fees and costs, with post-judgment

interest on the total amount at the rate of 2.82% (the “ART Federal Judgment”). See
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Am. Realty Tr., Inc. v. Matisse Cap. Partners LLC, 2005 WL 81705 (N.D. Tex. Jan. 13,

2005).

         5.      Efforts to Collect on ART Federal Judgment & Texas State Court Case

         Matisse’s bank account was closed within two weeks of the ART Federal

Judgment. (Appellants’ App’x at 1264.) In June 2005, Jackson sent Bagley an e-mail

stating that they would deliberately not file Matisse’s required annual report and allow

the Colorado Secretary of State to administratively dissolve Matisse. (Id.) Bagley

responded, “Absolutely! There hasn’t been a peep out of [Gene Phillips of ART] so far.”

(Id. at 1265.)

         ART unsuccessfully attempted to collect on the ART Federal Judgment in 2005

and 2006. (Id. at 1275.) On July 26, 2006, ART sued Bagley, Takacs, Matisse, Stone

Pine Capital, Stone Pine Financial, and SPIB in Texas state court in Dallas County,

asserting claims of: (1) fraudulent transfer; (2) common business enterprise and

conspiracy; and (3) constructive trust. (Id.) ART also sought to enforce its post-

judgment discovery, turnover, and attorneys’ fees. (Id. at 1275–76.)

         On July 31, 2009, the jury determined that SPIB was the alter ego of Matisse.

(Id. at 1280.) On November 11, 2009, the Texas state court entered judgment in favor

of ART and against SPIB for $1,389,226.52 plus interest, the amount of the ART

Federal Judgment. (Id.)

         Less than one week later, on November 17, 2009, Bagley reached out to a

Colorado bankruptcy attorney and informed that attorney that SPIB had only four

creditors: ART, SPIB’s counsel in the Texas state action, SPAS, and Bagley. (Id.)

Because Jackson and Bagley determined that immediately filing for bankruptcy could

“let [ART] start over with fraudulent transfer claims out of SPIB,” they decided to “get as
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much mileage as possible out of [the pending appeal in the Texas state action] and as a

result to hold off on the bankruptcy.” (Id.)

       By May 19, 2010, Bagley and Jackson had closed SPIB’s bank accounts. (Id.)

Bagley thereafter sent an e-mail to SPIB’s bankruptcy attorney, stating:

                  Please do not jump the gun on this. We still intend to file in
                  the near future, however the court process in Texas has
                  been very slow. Our appeal deadline was just extended
                  again to June 30.

                  The reason for our delay is that the four year clock has run
                  on several transactions as the appeal process runs. There
                  are no other creditors pressing SPIB and the plaintiff in our
                  legal case has taken a very slow approach . . . This is an
                  unusual case since no creditors (other than affiliates) will
                  remain unpaid, but for the plaintiff.

                  ...

 (Id. at 1281.)

       6.         Deals

                  a.      PEMG

       While the ART federal lawsuit was pending, Bagley wanted to work with Hamilton

Lane—then the largest ERISA fund manager in the United States—to pursue an

opportunity to bid on Viventures Partners S.A., a private equity manager and general

partner of a large European venture capital fund. (Id. at 1261–62.) However, because

Hamilton Lane’s principals wanted to avoid the negative associations from ART’s

breach of fiduciary duty claims, Bagley and Jackson decided to resurrect a dormant

corporate entity to pursue the opportunity: HLSP Investment Banking LLC (“HLSP IB”).

(Id. at 1262.) HLSP IB and others acquired a membership interest in Private Equity

Management Group (“PEMG”), which, in turn, acquired Viventures Partners S.A. (Id.)

       On October 27, 2003, HLSP IB and SPAS entered into a Services Agreement
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with Hamilton Lane, and PEMG entered into an Investment Advisory Agreement with

HLSP IB, Hamilton Lane, and SPAS. (Id.) Pursuant to the parties’ agreements, Bagley

provided consulting services to PEMG; the consulting fees earned by Bagley were paid

to HLSP IB, which in turn paid them to SPIB. (Id.) In 2003 and 2004, PEMG paid HLSP

IB $30,000 and $201,296, respectively, which in turn paid SPIB $29,454 and $201,463.

(Id.) SPIB treated these payments as income on its financial statements and tax

returns. (Id.)

       In 2006, the parties negotiated an early termination of the Investment Advisory

Agreement, which provided that HLSP IB would receive $1.8 million as a discounted

payout of what was left on the agreement. (Id. at 1274.) However, when HLSP IB

received the funds from PEMG, it did not transfer the funds to SPIB as it had previously

done. Instead, when HLSP IB received the first $900,000 on May 23, 2006, it

transferred the funds to Princeton Partners and Jackson according to their ownership

interests in HLSP IB: Princeton Partners received 80%, or $720,000, and Jackson

received 20%, or $180,000. (Id.) After receiving these funds, Princeton Partners and

Jackson transferred approximately $720,000 and $144,000, respectively, to SPIB. (Id.

at 1274–75, 1295.)

       On September 1, 2006, PEMG paid HLSP IB the remaining $900,000, which in

turn paid $712,000 to Princeton Partners and $178,000 to Jackson. (Id. at 1275.)

Thereafter, Princeton Partners and Jackson transferred approximately $425,600 and

$142,400, respectively, to SPIB. (Id. at 1274–75, 1295.)

                 b.   Nomura

       On June 9, 2005, Bagley and Takacs signed a letter agreement on behalf of

“HLSP Stone Pine Investment Banking LLC” with Nomura International PLC, a large
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Japanese investment firm. (Id. at 1267.) This letter states:

              We refer to the recent discussions between HLSP Stone
              Pine Investment Banking L.L.C. (“HLSP”), a joint venture
              between Hamilton Lane Advisers and Stone Pine
              Companies, and Nomura International plc (“Nomura” or the
              “Arranger”) with respect to HLSP’s intention to raise up to
              €1,000,000,000 from debt and equity investors in the form of
              a Collateralised Fund Obligation Issue (“CFO”) for
              investment in a diverse portfolio (the “Portfolio”) of buy-out
              and venture capital private equity funds (the “Transaction”).

              ...
(Id.)

              c.     Moneda

        Takacs worked with Moneda Asset Management, S.A. (“Moneda”), a private

equity and real estate asset management firm in Chile, to establish a “fund of funds”

directed at Chilean pension fund investors. (Id. at 1270.)

              d.     TechFund

        On May 11, 2005, Takacs, acting on behalf of “HLSP Hamilton Lane/Stone Pine”

signed a letter of intent addressed to TechFund, setting forth its interest in purchasing

an equity interest of TechFund’s management company’s private equity division. (Id. at

1265.) In that letter, Takacs included HLSP’s principal contact persons for the

transaction, listing the same physical address used for the Stone Pine Companies and

e-mail addresses at the @stonepinecompanies.com domain. (Id. at 1265–66.)

              e.     Fortune

        In April 2005, Takacs approached Bagley about a potential deal with Fortune

Management, Inc. (“Fortune”), which was interested in raising funds to acquire other

wealth management companies. (Id. at 1266.)

        On May 30, 2005, Fortune’s Chief Executive Officer sent Takacs a letter of intent

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 addressed to Takacs and Bagley at “The Stone Pine Investment Banking L.L.C.” at

 SPIB’s address, stating:

                  This Letter of Intent (“LOI”) shall outline the general terms
                  and conditions under which FORTUNE Management, Inc.
                  (“Fortune”) proposes to acquire 100% of the shares of the
                  shares of Hamilton Lane / Stone Pine Investment Banking
                  HLSP (“HLSP”) [check legal form], a joint venture between
                  The Stone Pine Companies (“SPCs”) and Hamilton Lane
                  (“HL”) . . .

  (Id.)

                  i.     Fortune Press Release

          On May 30, 2005, Fortune’s CEO drafted a press release that provided:

                  Fortune Management, Inc. . . . and Hamilton Lane / Stone
                  Pine Investment Banking (HLSP) have entered into a Letter
                  of Intent.

                  HLSP is a joint venture between Hamilton Lane, Philadelphia
                  and The Stone Pine Companies L.L.C., Denver, whose
                  principal purpose is the consolidation of private equity
                  management companies on a global basis. . . . The
                  companies have agreed to conduct a due diligence in the
                  coming weeks with the objective to reach a definitive
                  agreement in due course.

 (Id. at 1267.)

          In late June 2005, Bagley discussed with Hamilton Lane representatives the

 Fortune deal, as well as the Nomura, Moneda, and TechFund deals included in

 Fortune’s “deal pipeline.” (Id. at 1270.) At the time, Hamilton Lane had not agreed to

 participate in any of the deals, including the Fortune deal. On June 28, 2005, Mario

 Giannini of Hamilton Lane learned of the Fortune Press Release and wrote an e-mail to

 Bagley, stating:

                  Why are you and [Takacs] using Hamilton Lane’s name and
                  an entity that we are not a part of and saying we have a joint

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                  venture in doing this and, worse, doing it in a press release?
                  If this is what is being said to Fortune, Nomura, and the
                  people in Chile, then I have to tell each of them that it isn’t
                  true. What’s going on?

 (Id.) In his response, Bagley blamed Takacs for the errors and tried to

 convince Hamilton Lane to proceed with the deals. (Id.) Hamilton Lane later agreed to

 participate in certain deals, including the Nomura deal. (Id.)

        The final press release dated July 8, 2005 stated, inter alia:

                  The board of Fortune Management Inc . . . has – with
                  resolution on July 7, 2005 and following the Letter of Intent
                  on June 2, 2005 – decided to acquire the private equity
                  business and managing principals of HLSP Holdings Corp.,
                  a member of the Stone Pine Group of Companies, Denver,
                  in exchange for 33,584,600 restricted shares of Fortune
                  common stock. Primarily, HLSP Holding Corp. comprises of
                  a pipeline of private equity transactions in differing stages of
                  negotiation. Such transactions include the acquisition of a
                  number of private equity management firms in various
                  companies as well as an agreement with a major
                  international investment bank for the underwriting of a
                  substantial new private equity fund.

 (Id. at 1272.)
                  ii.    Fortune Closing and Shares

        On July 1, 2005, Bagley entered into a Consulting Agreement with Fortune and

 Takacs entered into an Employment Agreement with Fortune. (Id. at 1271.) On June 7,

 2005, the Fortune transaction was finalized, and HLSP Holdings transferred its “Private

 Equity Assets”—which included the pending and potential Nomura, Moneda, and

 TechFund deals—into a Fortune subsidiary, Fortune Transfer Corp., in exchange for

 Fortune common stock. 1 (Id.) The agreement further required Bagley and Takacs to


        1
          In an e-mail dated June 19, 2005, Bagley instructed counsel that he wanted to use a
 new entity for the Fortune transaction, rather than HLSP, “so as to not contaminate the transfer.”
 (Appellants’ App’x at 1269.) His attorney responded that he would form a new Delaware
 company into which the Hamilton Lane shares and deal pipeline (specifically, the Nomura,
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 close each of the transactions identified as Private Equity Assets and to “forward and

 refer all future private equity business opportunities to Fortune and, as the case may be,

 use his reasonable best efforts to pursue such opportunities on behalf of Fortune,”

 which effectively eliminated any future private equity business opportunities for SPIB.

 (Id.)

         Thereafter, Fortune transferred 33,584,600 of Fortune common stock, which

 were allocated as follows:




 (Id.) As of June 30, 2005, Fortune stock was trading at €0.92, or $1.11. (Id.)

               iii.   Fortune Expenses

         Bagley later submitted an expense report for documentation for a trip he took to

 London between June 8–20, 2005, in which he represented that the purpose of his trip

 was “SPIB mtg. in London with Nomura (Judith Tan) and Fortune” and that the


 Moneda, and TechFund deals) would be transferred, and the new company would merge into a
 Delaware subsidiary of Fortune in exchange for Fortune stock. (Id.)

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 expenses should be charged to “SPIB – Fortune.” (Id. at 1268.)

         Thereafter, $5,417.23 of SPIB funds were used to pay the Fortune expenses.

 (Id. at 1273.) As Bagley explained in an e-mail to Sande Hempelmann of SPAS in

 response a question about how to treat one of the expenses:

               This expenditure is for the legal expenses necessary to
               close the sale of HLSP to Fortune. They are not
               reimbursable by Fortune as the agreement requires each
               parties to bear its own expenses. SPIB controls HLSP and
               the shares are allocated to Don, Jack and I. Any accounting
               treatment you think proper is fine with me.

 (Id.)

         7.    Transfer of HLPEF/SP Management Interest to ANSM

         HLPEF/SP Management (originally SPAM) was formed in 1998 to focus on

 private equity management opportunities. (Id. 1279.) After its management team left

 for Hamilton Lane, HLSPEF/SP became a passive entity holding an interest in

 European funds formed by Hamilton Lane. (Id.) SPIB was entitled to receive 10% of

 HLPEF/SP’s cumulative net profits, which were estimated to be between $160,000 to

 $175,000 in 2008. (Id.)

         In early 2008, Bagley and Jackson worked to “formally dissolve as many of the

 Stone Pine entities as possible.” (Appellee’s App’x at 3240.) Bagley and Jackson

 decided to transfer SPIB’s interest in HLPEF/SP Management to ANSM, which was

 majority owned and controlled by Bagley. (Appellants’ App’x at 1279.)

         In April 2008, ANSM paid SPIB consideration of $180,000, consisting of $45,000

 cash, a $90,000 offset against interest on cash advances to SPIB that ANSM had

 treated as loans, and a $45,000 note receivable, which ANSM subsequently paid in full,

 with interest. (Id.; Appellee’s App’x at 3242.)

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 B.     Procedural History

        SPIB filed for Chapter 7 bankruptcy on October 29, 2010, and David Lewis was

 appointed as the Trustee. (Appellants’ App’x at 1282.)

        1.     The Adversary Proceeding

        On October 29, 2012, the Trustee initiated an adversary action, Case No. 12-

 1680, against Bagley, Jackson, Takacs, and 18 corporate entities, asserting claims for

 recovery of fraudulent transfers under 11 U.S.C. §§ 548 and 544 and the Colorado

 Uniform Fraudulent Transfer Act (“CUFTA”); breach of fiduciary duty; and alter ego-veil

 piercing. (Id.) The Bankruptcy Court ultimately approved an agreement between the

 Trustee and ART, whereby ART—SPIB’s only creditor—would prosecute the adversary

 proceeding. (Id.)

        The Trustee identified the following transactions as fraudulent transfers: (1) the

 transfer of the Nomura, Moneda, and TechFund deals to HLSP Holdings and to Fortune

 in July 2005; (2) the transfers of funds received in the PEMG payout in May and

 September 2006; (3) a series of transactions made by SPIB in 2007, including payments

 of $383,587.50 to Bagley and $80,737.00 to HLPEF/SP Management; and (4) the

 transfer of HLPEF/SP to ANSM in April 2008. (Id. at 1284.)

        The Defendants in the adversary proceeding filed motions for summary

 judgment. The Bankruptcy Court granted two of the motions, dismissing the Trustee’s

 claims against eight defendants and dismissing the Trustee’s claims against the

 remaining Defendants to the extent that the Trustee sought to avoid under 11 U.S.C.

 § 548 any transfers that occurred more than two years prior to SPIB’s filing of its

 bankruptcy petition. (Id. at 1282.)

        The Bankruptcy Court conducted a bench trial beginning on May 21, 2018. (Id.)
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 During the course of the trial, the Trustee settled with Defendant Stone Pine Accounting

 Services, LLC, such that only the following Defendants remained in the case: Bagley,

 Takacs, Jackson, HLSP IB, Princeton Partners, HLPEF/SP Management, and ANSM.

 (Id.)

         On April 14, 2020, the Bankruptcy Court held that the Trustee had proven its

 claims for intentional fraudulent transfers under the CUFTA avoidable under 11 U.S.C. §

 550 and that the Trustee was entitled to recover: (1) $6,833,856.53 from Takacs (the

 value of the Fortune stock that Takacs received); (2) $4,770,302.42 from Bagley

 ($4,100,313.92 based on the value of the Fortune stock that Bagley received, as well as

 $286,400 for the PEMG Payout, and $383,587.50 for the additional fraudulent

 transfers); (3) $2,805,142.61 from Jackson ($2,733,542.61 based on the value of the

 Fortune stock that Jackson received, as well as other $71,600 for the PEMG Payout);

 (4) $4,386,713.92 from Princeton Partners ($4,100,313.92 based on the value of the

 Fortune stock that Princeton Partners received, as well as $286,400 for the PEMG

 payout); (5) $80,737.00 from HLPEF/SP Management for a series of transfers made

 with the actual intent to hinder, delay, and defeat ART’s ability to collect on its debt; and

 (6) $90,000.00 from ANSM. (Id. at 1301–02.)

         The Bankruptcy Court determined that certain of the Trustee’s claims were time

 barred, but the intentional fraudulent transfer claim was not time barred. (Id. at 1290–

 92.) It further rejected the Trustee’s claims for breach of fiduciary duty, alter-ego

 liability, and veil piercing. (Id. at 1301.)

         On April 28, 2020, the Defendants jointly filed a motion under Federal Rule of

 Bankruptcy Procedure 9023 seeking to alter or amend the judgment to limit the


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 damages to the amount of the claims against the SPIB estate. (Appellants’ App’x at

 1305.) On June 5, 2020, the Bankruptcy Court denied that motion. (Id. at 1455–56.)

       2.     The Appeals

       On May 13, 2020, Takacs filed a notice of appeal from the Bankruptcy Court’s

 September 29, 2017 Order on Pending Motions for Summary Judgment, July 2, 2018

 Order Admitting Additional Exhibits, and the April 14, 2020 Finding of Facts and

 Conclusions of Law and Judgment. That appeal was docketed in this Court at Civil

 Action No. 20-cv-1372. (ECF No. 1.)

       On May 13, 2020, the Appellants filed a notice of appeal from the Bankruptcy

 Court’s July 2, 2018 Order Admitting Additional Exhibits, and the April 14, 2020 Finding

 of Facts and Conclusions of Law and Judgment. The Appellants’ appeal was

 separately docketed in this Court as Civil Action No. 20-cv-1395. The Trustee

 subsequently filed notices of cross-appeal under both docket numbers.

       On June 11, 2020, the Appellants and Takacs filed notices of appeal from the

 Bankruptcy Court’s June 5, 2020 Order on Motion to Alter or Amend. Those appeals

 were docketed in this Court as Civil Action No. 20-cv-1723 and No. 20-cv-1724,

 respectively. On June 16, 2020, the Trustee filed notices of cross-appeals in both

 actions.

       By order dated July 29, 2020, United States District Judge Robert E. Blackburn

 consolidated the various appeals. (ECF No. 10.)

       On August 21, 2020, Takacs filed the Motion to Strike Trustee’s Cross-Appeal

 from Bankruptcy Court's June 5, 2020, Order (“Motion to Strike Cross-Appeal”). (ECF

 No. 15.)

       On November 9, 2020, the Appellants and Takacs filed the Motion to Strike
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 Appellee’s Appendix Entry (“Motion to Strike Appendix Entry”). (ECF No. 46.)

        On November 24, 2020, this Consolidated Action was reassigned to the

 undersigned. (ECF No. 57.)

                                        III. ANALYSIS

 A.     Appeals by Takacs and the Appellants

        Takacs argues that the Bankruptcy Court erred in four ways: (1) in determining

 that the Trustee’s claim for intentional fraudulent transfer under Colo. Rev. Stat. § 38-8-

 105(1)(a) was timely; (2) by failing to utilize the proper standard in analyzing fraudulent

 transfers; (3) by failing to apply the correct test to determine whether the Fortune

 Transactions 2 were “property”; and (4) denying as premature Defendants’ motion to

 alter or amend the judgment to limit the amount of the claims asserted against the SPIB

 estate. (ECF No. 19 at 2.)

        Appellants argue that the Bankruptcy Court erred in eleven ways: (1) by

 determining that SPIB owned HLSP IB; (2) by determining the PEMG-based claims

 were timely; (3) by holding Princeton Partners liable for transfers of the Fortune stock;

 (4) by awarding judgment under 11 U.S.C. § 550 without requiring the Trustee to avoid

 the transfer of the Fortune Transactions to HLSP Holdings; (5) by concluding that

 Bagley and Jackson were parties for whose benefit SPIB’s transfer of the Fortune

 Transactions to HLSP Holdings were made; (6) by concluding that the Fortune

 Transactions were property owned by SPIB; (7) by concluding the transfer of the

 Fortune Transactions was not time-barred; (8) in its valuation of the Fortune stock; (9)

 by concluding transfers were made with the intent to hinder, delay, and defraud

        2
         For brevity, the Court will refer to the Fortune, Nomura, Moneda, and TechFund
 business ventures collectively as the “Fortune Transactions.”

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 creditors; (10) by concluding that SPIB received less than reasonably equivalent value

 in exchange for the transfers; and (11) by denying as premature Defendants’ motion to

 alter or amend the judgment. (ECF No. 21 at 4–5.)

       1.     The Fortune Transactions

       The Bankruptcy Court concluded that

              [r]egarding the transfer of the Nomura, Moneda, and
              TechFund deals to HLSP Holdings and to Fortune in July
              2005, the Court finds the Nomura, Moneda, and TechFund
              deals were property of Debtor transferred to HLSP Holdings
              for the benefit of Takacs, Bagley, and Jackson. For
              purposes of 11 U.S.C. § 550, HLSP Holdings was the initial
              transferee, and Takacs, Bagley, and Jackson were the
              entities for whose benefit the transfers were made. The
              Fortune stock was transferred to HLSP Holdings and
              subsequently distributed to Takacs, Bagley (through
              Princeton Partners), and Jackson. Each received Debtor’s
              property. None has shown he gave value to Debtor. None
              acted in good faith in connection with the transfers. Takacs,
              Bagley, Princeton Partners, and Jackson are each liable to
              Trustee for the value each received.

              Takacs received 12,313,255 shares of Fortune stock; Bagley
              received 7,387,953 shares of Fortune stock; and Jackson
              received 4,925,302 shares of Fortune stock. At the time,
              Fortune stock was trading at €0.92, and one euro was worth
              $1.2066, so each share was worth $1.11. Exhibit 326.
              Contemporaneously with their receipt of the stock,
              Defendants applied a 50% discount to reflect the stock’s
              restricted status, resulting in a valuation of $0.555 per share.
              Id. The Court finds the 50% discount appropriate to
              determine value received for purposes of § 550. Thus, the
              Court finds Takacs received $6,833,856.53 worth of stock;
              Princeton Partners and Bagley received $4,100,313.92
              worth of stock; and Jackson received $2,733,542.61 worth of
              stock.

 (Appellants’ App’x at 1294–95.)

              a.     Judgment Against Princeton Partners

       The Appellants contend that the judgment against Princeton Partners is clearly

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 erroneous because “[t]here is no evidence that Princeton Partners received or was

 entitled to Fortune stock at any time.” (ECF No. 21 at 29.) In response, the Trustee

 argues that “Princeton Partners is a general partnership and, for all intents and

 purposes, is Bagley” and that “Bagley indicated in an email that he wanted to hold the

 Fortune stock in Princeton Partners.” (ECF No. 30 at 8.)

        The record is far from clear on this issue. For example, a July 7, 2005 document

 entitled “Closing Schedule and Stock Allocation prior to Liquidation” indicates that

 Bagley would receive 7,387,953 Fortune shares upon the liquidation of HLSP Holding

 Corp. (Appellee’s App’x at 3178.) However, in an e-mail dated the prior day, Bagley

 wrote, “I want to hold my ownership in Princeton Partners if possible.” (Appellee’s App’x

 at 4824.) 3 Likewise, the exhibit entitled “2007 Fortune Income & Expenses” reflects that

 numerous wire transfers were made to Princeton Partners. (Appellee’s App’x at 3119.)

        Ultimately, the Appellants have not pointed the Court to any evidence in the

 record demonstrating either that the Fortune stock was transferred to Bagley alone, or

 that Princeton Partners never held Bagley’s Fortune stock. Without such evidence,

 Court cannot conclude that the Bankruptcy Court’s factual determination on this issue

 was clearly erroneous.

        This portion of Appellants’ appeal is therefore denied.

               b.      Judgment Under 11 U.S.C. § 550(a)(1)

        Section 550 of the Bankruptcy Code provides, in relevant part,

               (a) Except as otherwise provided in this section, to the extent
               that a transfer is avoided under section 544 . . . of this title,

        3
          In their reply, Appellants contend that “Trustee’s Appendix does not have a page 4824,
 and Defendants have no idea what e-mail he is referring to.” (ECF No. 52 at 57.) The Court
 notes that page 4824 does indeed exist. (See ECF No. 36-3.)

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                the trustee may recover, for the benefit of the estate, the
                property transferred, or, if the court so orders, the value of
                the property, from --

                       (1) the initial transferee of such transfer or the entity
                       for whose benefit such transfer was made; or

                       (2) any immediate or mediate transferee of such initial
                       transferee.

                (b) The trustee may not recover under section 1(a)(2) of this
                section from—

                       (1) a transferee that takes for value, including
                       satisfaction or securing of a present or antecedent
                       debt, in good faith, and without knowledge of the
                       voidability of the transfer avoided; or

                       (2) any immediate or mediate good faith transferee of
                       such transferee.

          The Appellants argue that the Bankruptcy Court erred in awarding relief under §

 550 because: (1) the Trustee failed to avoid the transfer of the Fortune Transactions to

 HLSP Holdings; and (2) the Appellants received no direct or indirect benefit from the

 transfer from SPIB to HLSP Holdings and were not “entities for whose benefit the

 transfer was made.” (ECF No. 21 at 29–30.) The Court considers each argument

 below.

                       i.     Trustee’s Failure to Sue HLSP Holdings

          The Appellants contend that because Section 550(a) permits recovery only “to

 the extent that a transfer is avoided,” the Bankruptcy Court could only enter judgment

 against them if the Trustee first avoided the transfer of the Fortune Transactions to

 HLPS Holdings, the initial transferee. (Id. at 29–30 (citing In re Slack-Horner Foundries

 Co., 971 F.2d 577, 580 (10th Cir. 1992)).)

          In response, the Trustee argues that the Appellants have waived this argument

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 by failing to raise it below. (ECF No. 30 at 8–9.) Appellants neither contest this

 assertion in their reply nor identify any place in the record where they previously raised

 this argument before the Bankruptcy Court. (See generally ECF No. 52.) Given

 Appellants’ failure to respond to the Trustee’s waiver argument with case law or

 citations to the record, the Court finds that Appellants have waived this argument. See

 Phillips v. Calhoun, 956 F.2d 949, 953–54 (10th Cir. 1992) (“A litigant who fails to press

 a point by supporting it with pertinent authority, or by showing why it is sound despite a

 lack of supporting authority or in the face of contrary authority, forfeits the point.”

 (internal quotation marks omitted)).

                       ii.    Direct or Indirect Benefit From the Transfer

        Appellants next argue that the Bankruptcy Court erred when it entered judgment

 against Takacs, Bagley, and Jackson “as entities for whose benefit the transfer from

 HLSP Holdings to Fortune was made.” (ECF No. 21 at 32–33.) Specifically, the

 Appellants argue that the Bankruptcy Court “did not conclude that [Takacs, Bagley, and

 Jackson] received anything directly or indirectly as the result of the transfer of the

 [Fortune Transactions] from SPIB to HLSP Holdings” and that “[a]ny benefit [Takacs,

 Bagley, and Jackson] received was solely from the subsequent transfer to Fortune

 when Fortune delivered stock to HLSP Holdings pursuant to the Fortune Agreement.”

 (Id. at 32.)

        To the extent that Appellants argue that the phrase “entity for whose benefit the

 transfer was made” is limited to a debtor or guarantor (ECF No. 21 at 31 (citing Bonded

 Fin. Servs. v. European Am. Bank, 838 F.2d 890, 895 (7th Cir. 1988))), the Court is not

 persuaded. As the Fourth Circuit has recognized, “nothing in the text of § 550(a)(1)


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 limits ‘the entity for whose benefit’ the transfer was made only to a debtor or guarantor

 and under some circumstances other persons will receive the benefit of a transfer from

 the bankrupt to a third party.” In re Meredith, 527 F.3d 372, 375–76 (4th Cir. 2008); see

 also In re TOUSA, Inc., 680 F.3d 1298, 1313 (11th Cir. 2012) (acknowledging that while

 a guarantor “relationship may be the paradigmatic case, it is not the only circumstance

 that can give rise to ‘for whose benefit’ liability”); In re Compton Corp., 831 F.2d 586,

 595 (5th Cir. 1987), on reh’g, 835 F.2d 584 (5th Cir. 1988) (recognizing that “the entire

 purpose of the direct/indirect doctrine is to look through the form of a transaction and

 determine which entity actually benefitted from the transfer”); Boyer v. Belavilas, 474

 F.3d 375, 377 (7th Cir. 2007) (determining wife of debtor was “the entity for whose

 benefit” avoidable transfer was made when she diverted funds from custodial accounts

 for her children to a corporation she owned and controlled).

        After reviewing the record, the Court cannot conclude that the Bankruptcy Court

 erred in its conclusion that Takacs, Bagley, and Jackson were the entities for whose

 benefit the transfer from HLSP Holdings to Fortune was made. See In re Flashcom,

 Inc., 647 F. App’x 689, 691 (9th Cir. 2016) (reviewing bankruptcy court’s determining

 that party was “the entity for whose benefit” the transfer was made for clear error);

 Boyer, 474 F.3d at 377 (same). As such, this portion of the Appellants’ appeal is

 denied.

               c.     Whether the Fortune Transactions Were Property

        The Appellants argue that the Bankruptcy Court failed to make any findings that

 the Fortune Transactions were “property” within the CUFTA. (ECF No. 21 at 33.)

 Likewise, Takacs argues that the Bankruptcy Court failed to employ the proper legal

 standard in determining that the Fortune transactions were “property” within the CUFTA
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 and that, had it done so, the Bankruptcy Court would have “had to conclude that the

 transactions were not property that could be subject to a fraudulent-transfer action.”

 (ECF No. 19 at 42.) The Trustee argues that Takacs and the Appellants have waived

 these arguments because they failed to argue to the Bankruptcy Court that the Fortune

 Transactions were not property. (ECF No. 30 at 12.)

        In their replies, Takacs and the Appellants attempt to demonstrate that they did

 not waive this argument below. (See ECF No. 51 at 16–17; ECF No. 52 at 39–48.)

 However, the Court is unpersuaded.

        Takacs’s contention that the determination that the Fortune Transactions were

 property under the CUFTA was the “Bankruptcy Court’s sua sponte conclusion” is

 belied by the record. After all, in the complaint in the adversary proceeding, the Trustee

 explicitly raised the argument that the transfers should be considered property. (See

 Appellants’ Appx at 36 ¶ 71 (“The Stone Pine Entities made various transfers of

 property and opportunities that either were or should have been the Debtor’s property

 and should now be property of the bankruptcy estate.”).)

        After reviewing the parties’ arguments and the citations to the record where they

 claim they argued below that the Fortune Transactions do not constitute property, the

 Court is not convinced that Takacs and the Appellants have properly preserved the

 argument for appeal. 4 To the contrary, in the identified portions of the record, the

 parties appear to accept the notion that the Fortune Transactions are indeed property,

 and instead argue that the property did not belong to SPIB. (See Appellants’ App’x at

 1213–20, 1252, 1562.) Moreover, to the extent the parties hint at the argument in

        4
         Nonetheless, the parties have preserved the argument that the Fortune transaction
 was not SPIB’s property, and therefore the Court analyzes these arguments below.

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 passing, the Court concludes that they have failed to properly develop the argument

 below and have therefore forfeited the point. See Phillips, 956 F.2d at 953–54.

        Accordingly, this portion of Takacs and the Appellants’ appeals is denied.

               d.     Whether the Opportunities Were SPIB’s Property

        Takacs and the Appellants next argue that even if the Fortune Transactions

 could be considered “property,” there is “no evidence supporting a finding that they were

 SPIB’s property.” (ECF No. 21 at 34; ECF No. 19 at 49–52.) They argue that the

 Bankruptcy Court neither held that SPIB held legal title nor equitable title to the Fortune

 Transactions under any standard recognized under Colorado law, including the

 doctrines for constructive trusts, resulting trusts, and/or equitable liens. (ECF No. 21 at

 35.) Instead, they argue that the Bankruptcy Court erroneously determined property

 ownership by looking at the “substance and reality of a transaction,” and argue that

 even if this test does apply, that the Bankruptcy Court’s findings are “insufficient to

 support a reality in which SPIB owned the [Fortune Transactions].” (Id. at 36–37.)

 Among other things, the Appellants argue that the Bankruptcy Court failed to find that

 Takacs was SPIB’s agent or had the authority to bind SPIB; that SPIB and Takacs were

 parties to any compensation arrangement for finding deals; that SPIB had any right to

 direct Takacs’s development of the Fortune Transactions; or that SPIB could have

 realized the Fortune Transactions. (Id. at 37–44.)

        Takacs argues that Bankruptcy Court erred by applying a legal test for property

 ownership that “borrow[s] heavily from the ‘corporate-opportunity’ doctrine”; moreover,

 Takacs contends that if the Bankruptcy Court had applied the proper test, “it would have

 had to conclude that the transactions were not property that could be subject to a

 fraudulent-transfer action.” (ECF No. 19 at 42.) Takacs contends that SPIB had no
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 expectation in business opportunities generated by non-fiduciaries where SPIB did not

 deal in private equity asset management and lacked the financial capabilities to pursue

 the Fortune Transactions. (Id. at 45–48.)

        The Trustee responds that any invocation of an expectancy test is a “red herring”

 and emphasizes that equitable claims require a court to look at substance rather than

 form. (ECF No. 30 at 15; ECF No. 31 at 20.) Moreover, the Trustee argues that “[a]s a

 factual determination, the Bankruptcy Court made a correct determination that, since

 SPIB paid for the due diligence costs,” the Fortune Transactions belonged to SPIB.

 (ECF No. 30 at 14; ECF No. 31 at 21–25.) The Court agrees.

        As another judge within the District of Colorado has recognized, “the CUFTA

 provides an ‘equitable’ remedy. The purpose of a court sitting in equity is to promote

 and achieve justice with some degree of flexibility; in other words, the court is to

 examine substance over form.” United States v. Wilhite, 2016 WL 5720707, at *7 (D.

 Colo. Sept. 23, 2016), aff’d, 774 F. App’x 478 (10th Cir. 2019) (internal citations

 omitted); see also Rocky Mountain Gold Mines v. Gold, Silver & Tungsten, 93 P.2d 973,

 982 (Colo. 1939) (“Equity . . . has to do with the substance and reality of a transaction –

 not the form and appearance which it may be made to assume . . . [I]t is the real

 intention of the parties, and the true nature of the transaction that concern equity; . . . no

 matter how many papers may have been executed that cover up the real purpose and

 give to the transaction an appearance other than the true one.”).

        To the extent that Takacs and the Appellants contend that the Bankruptcy Court

 erred by applying the “substance and reality of a transaction” test, the Court is

 unpersuaded. Critically, neither Takacs nor the Appellants cite any case law supporting


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 the view that this test is inappropriate for determining equitable property ownership, nor

 is the Court aware of any such law.

          Moreover, the Court cannot conclude that the Bankruptcy Court erred in its

 equitable determination that the Fortune Transactions belong to SPIB. For example,

 the Court notes that that Bankruptcy Court had considered—and rejected—Takacs and

 the Appellants’ arguments that Takacs developed the Fortune Transactions on his own,

 noting

                [j]ust as he had done with PEMG, and as part of his work as
                a Managing Director of the Stone Pine Companies, using a
                Stone Pine mailing and email address, Takacs identified
                business opportunities and presented them to Bagley so
                those opportunities could be realized, ideally with the help of
                Hamilton Lane (as in the case with PEMG). The deals were
                obtained because the deal counterparties understood they
                were dealing with Stone Pine entities, and Stone Pine
                entities had a track record of success, including HLSP IB. It
                was no accident the TechFund and Nomura letters of intent
                and the Fortune press releases specifically mentioned HLSP
                IB, and the entity formed to accomplish the deals was also
                named HLSP. Having obtained business by a Stone Pine
                connection, the Defendants cannot now deny the Stone Pine
                connection.

 (Appellants’ App’x at 1284–85.)

          Additionally, the Court finds the fact that SPIB paid development expenses for

 the Nomura, Moneda, and TechFund deals, and paid expenses for the Fortune sale, to

 be significant in determining that the Fortune Transactions belonged to SPIB. For

 example, Bagley submitted an expense report for a trip he took to London June 8–20,

 2005 as “SPIB mtg. in London with Nomura (Judith Tan) and Fortune” and charged the

 expenses to “SPIB – Fortune.” (Id. at 2907.) He further represented on June 9 and 16,

 2005, respectively, he entertained “Rene Mueller- Fortune and Jack Takacs – SPIB”


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 and “Jack Takacs – SPIB.” (Id.)

        Finally, the Court notes that although Takacs and Appellants chose to use an

 “uncontaminated” company for the Fortune Transactions (see Appellants’ App’x at

 3058), Takacs and the Appellants nonetheless frequently invoked SPIB’s name in

 pursuing the TechFund, Nomura, Moneda, and Fortune deals. For example, Takacs,

 acting on behalf of "HLSP Hamilton Lane/Stone Pine,” 5 signed a Letter of Intent

 addressed to TechFund in which the description of HLSP states that “Stone Pine is a

 private equity investment firm and Hamilton Lane, a leading private equity advisor and

 gatekeeper that advises on $30bn in institutional capital earmarked for the private equity

 asset class.” (Appellants’ App’x at 3054.) Likewise, the draft letter of intent from

 Fortune was addressed to Takacs and Bagley at “The Stone Pine Investment Banking

 L.L.C.” and stated that Fortune was proposing to “acquire 100% of the shares of

 Hamilton Lane / Stone Pine Investment Banking HLSP.” (Appellants’ App’x at 2888.)

        Accordingly, the Court cannot conclude that the Bankruptcy Court erred in

 determining that the Fortune Transactions were SPIB’s property. This portion of the

 appeals is also denied.

               e.     Claims for Transfer of Fortune Transaction Were Not Time Barred

        Colorado Revised Statute § 38-8-105(1)(a) provides that

               [a] transfer made or obligation incurred by a debtor is
               fraudulent as to a creditor, whether the creditor’s claim arose
               before or after the transfer was made or the obligation was
               incurred, if the debtor made the transfer or incurred the
               obligation: (a) With actual intent to hinder, delay, or defraud
               any creditor of the debtor.


        5
         As the Bankruptcy Court points out, there is no entity named “HLSP Hamilton Lane
 Stone Pine.” (Appellants’ App’x at 1266.)

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          With regard to the fraudulent transfer claims brought under Colorado Revised

 Statute § 38-8-105(1)(a), the claim is “extinguished unless action is brought” “within four

 years after the transfer was made or the obligation was incurred or, if later, within one

 year after the transfer or obligation was or could reasonably have been discovered by

 the claimant.” Colo. Rev. Stat. § 38-8-110(1)(a). However, claims brought pursuant to

 Section 38-8-105(1)(a) are subject to equitable tolling. See United States v. Kwai Fun

 Wong, 575 U.S. 402, 407–08 (2015) (recognizing that statutes of limitation are

 presumptively subject to equitable tolling); Lewis v. Taylor, 375 P.3d 1205 (Colo. 2016)

 (recognizing that statute of limitations for Colo. Rev. Stat. § 38-8-105(1)(a) can be

 tolled).

          The Bankruptcy Court concluded that to the extent the Trustee’s CUFTA claims

 were brought pursuant to section 38-8-105(1)(a), the “extent of tolling available depends

 on whether Trustee is proceeding under 11 U.S.C. § 544(a)[6], with the powers of a


 6
     Under 11 U.S.C. § 544(a),

                 The trustee shall have, as of the commencement of the case, and
                 without regard to any knowledge of the trustee or of any creditor,
                 the rights and powers of, or may avoid any transfer of property of
                 the debtor or any obligation incurred by the debtor that is voidable
                 by--

                        (1) a creditor that extends credit to the debtor at the time of
                        the commencement of the case, and that obtains, at such
                        time and with respect to such credit, a judicial lien on all
                        property on which a creditor on a simple contract could
                        have obtained such a judicial lien, whether or not such a
                        creditor exists;

                        (2) a creditor that extends credit to the debtor at the time of
                        the commencement of the case, and obtains, at such time
                        and with respect to such credit, an execution against the
                        debtor that is returned unsatisfied at such time, whether or
                        not such a creditor exists; or

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 hypothetical creditor, or 11 U.S.C. § 544(b)[7], as an actual, unsecured creditor.”

 (Appellants’ App’x at 1291.)

          The Bankruptcy Court concluded the CUFTA claims were timely to the extent

 they were brought under section 544(a) because the statute did not begin to run until

 the beginning of the case; moreover, the Bankruptcy Court determined that the claims

 should be subject to equitable tolling because “a hypothetical creditor could not have

 discovered the fraudulent transfers prior to the bankruptcy filing because they were

 concealed, and the Defendants participated in a wrongful scheme to evade discovery

 obligations, delay the Texas State Court appeal, and delay the bankruptcy filing for the

 specific purpose of avoiding the statute of limitations.” (Id. at 1291–92.)

          The Bankruptcy Court likewise determined that equitable tolling applies to the

 CUFTA claims brought under section 544(b) such that it “extend[s] the statute of

                         (3) a bona fide purchaser of real property, other than
                         fixtures, from the debtor, against whom applicable law
                         permits such transfer to be perfected, that obtains the
                         status of a bona fide purchaser and has perfected such
                         transfer at the time of the commencement of the case,
                         whether or not such a purchaser exists.
 7
     11 U.S.C. § 550(b) provides:

                  (1) Except as provided in paragraph (2), the trustee may avoid any
                  transfer of an interest of the debtor in property or any obligation
                  incurred by the debtor that is voidable under applicable law by a
                  creditor holding an unsecured claim that is allowable
                  under section 502 of this title or that is not allowable only
                  under section 502(e) of this title.

                  (2) Paragraph (1) shall not apply to a transfer of a charitable
                  contribution (as that term is defined in section 548(d)(3)) that is
                  not covered under section 548(a)(1)(B), by reason of section
                  548(a)(2). Any claim by any person to recover a transferred
                  contribution described in the preceding sentence under Federal or
                  State law in a Federal or State court shall be preempted by the
                  commencement of the case.


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 limitations during the time ART was prevented from pursuing fraudulent transfers, due

 to the decisions of the Texas State Court”:

               [h]ere, the Texas State Court limited ART’s fraudulent
               transfer claims to those occurring between September 16,
               2002, and January 6, 2005, and also limited the jury’s ability
               to find a fraudulent transfer, instructing the jury to consider
               the issue of fraudulent transfers only if the jury did not find
               Matisse to be the alter ego of SPIB. Because the jury found
               Matisse to be the alter ego of SPIB, the jury did not decide
               whether fraudulent transfers were made. ART preserved its
               rights to assert those issues by objecting at appropriate
               times and by pursing those issues on appeal, which appeal
               was still pending on the date Debtor’s bankruptcy petition
               was filed.

 (Appellants’ App’x at 1293–94.)

        Takacs and the Appellants argue that the Bankruptcy Court erred in holding that

 the statute of limitations was equitably tolled because the Bankruptcy Court made no

 finding that there was an extraordinary circumstance or that either Takacs or the

 Appellants prevented ART or the Trustee from asserting its claim earlier. (ECF No. 19

 at 40; ECF No. 21 at 46–47.) According to Takacs, “ART knew of its potential

 fraudulent-transfer claim related to the Fortune Transactions well before the

 limitations/repose period expired” and “[t]he fact that the Texas court will not allow the

 claims to be added at the eleventh hour is irrelevant since nothing prevented ART from

 filing a separate and timely action with respect to the Fortune Transactions.” (ECF No.

 19 at 41; see also ECF No. 21 at 47.)

        Takacs and Appellants argument that the Bankruptcy Court’s equitable tolling

 analysis was erroneous because it did not conclude there were extraordinary

 circumstances is unavailing. To the contrary, in Dean Witter Reynolds, Inc. v. Hartman,

 911 P.2d 1094 (Colo. 1996) (en banc), the Supreme Court of Colorado recognized that

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 courts “appl[y] the doctrine of equitable tolling where the defendant’s wrongful conduct

 prevented the plaintiff from asserting his or her claims in a timely matter” or in situations

 where “extraordinary circumstances make it impossible for the plaintiff to file his or her

 claims within the statutory period.” Id. at 1096–97 (recognizing that the “reasoning

 underlying [the extraordinary circumstances cases] is that it is unfair to penalize the

 plaintiff for circumstances outside his or her control, so long as the plaintiff makes good

 faith efforts to pursue the claims when possible”). 8 Here, the Bankruptcy Court

 concluded that equitable tolling is appropriate both because Defendants’ conduct

 prevented a hypothetical creditor from discovering the fraudulent transfers prior to the

 bankruptcy filing and because ART actively pursued its claims to the fullest extent that it

 could.

          The Court reviews the Bankruptcy Court’s equitable determination on this matter

 for clear error and concludes the Bankruptcy Court’s analysis was thorough and sound,

 and that there is no clear error on the face of the record. See Devich v. United States,

 25 F.3d 1056 (10th Cir. 1994) (recognizing that applications of equitable doctrines to

 statutes of limitations are reviewed as factual determinations for clear error).

          Accordingly, this portion of Takacs’s and the Appellants’ appeal is denied. 9

                 f.     Intent to Hinder Transfers

          In determining whether a transfer was made with “actual intent to hinder, delay,

 or defraud any creditor of the debtor” pursuant to section 38-8-105(1)(a), courts may

 consider the following factors:

          The Appellants’ citation to Holland v. Florida, 560 U.S. 631, 649 (2010) is likewise
          8

 distinguishable because Holland is a federal habeas corpus case decided under federal law.

         Because the Court finds that equitable tolling applies, the Court need not address
          9

 Takacs and the Appellants’ other arguments regarding the statute of limitations.
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              (a) The transfer or obligation was to an insider;

              (b) The debtor retained possession or control of the property
              transferred after the transfer;

              (c) The transfer or obligation was disclosed or concealed;

              (d) Before the transfer was made or obligation was incurred,
              the debtor had been sued or threatened with suit;

              (e) The transfer was of substantially all the debtor’s assets;

              (f) The debtor absconded;

              (g) The debtor removed or concealed assets;

              (h) The value of the consideration received by the debtor
              was reasonably equivalent to the value of the asset
              transferred or the amount of the obligation incurred;

              (i) The debtor was insolvent or became insolvent shortly
              after the transfer was made or the obligation was incurred;

              (j) The transfer occurred shortly before or shortly after a
              substantial debt was incurred; and

              (k) The debtor transferred the essential assets of the
              business to a lienor who transferred the assets to an insider
              of the debtor.

 Colo. Rev. Stat. § 38-8-105(2).

       The Bankruptcy Court analyzed each of the eleven factors, as well as

 contemporaneous documentation of the transfers and the parties’ e-mails, in

 determining that Bagley, Takacs, and Jackson acted with fraudulent intent required for

 liability under section 38-8-105(1)(a). (Appellants’ App’x at 1287–89.)

       The Appellants argue that the Bankruptcy Court erred by “evaluat[ing] the

 ‘badges of fraud’ without regard to time, transaction or parties.” (ECF No. 21 at 52.) As

 the Appellants concede, the Bankruptcy Court’s intent findings are reviewed under a


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 clearly erroneous standard of review. (Id. (citing In re Stewart, 2009 WL 3724977, at *2

 (B.A.P. 10th Cir. 2009)).) They contend that the Bankruptcy Court’s findings are clearly

 erroneous because, inter alia:

           •   the Fortune transaction was publicized, not concealed, and the

               Bankruptcy Court did not explain what steps Defendants took to conceal

               the Fortune Transactions from creditors;

           •   the Bankruptcy Court did not find that ART had threatened any claim

               against SPIB or that Defendants believed ART would file suit against SPIB

               prior to the July 2006 lawsuit;

           •   although ART had a judgment against Matisse, ART did not assert a claim

               against SPIB until after the Fortune transaction;

           •   Bagley and Jackson voluntarily contributed funds into SPIB;

           •   the Trustee had no evidence that any loan to SPIB was ever changed in

               the books from a capital infusion to debt, and the Bankruptcy Court erred

               in recharacterizing loans to SPIB as capital contributions; and

           •   the transfers did not actually deplete SPIB’s assets because neither the

               PEMG buyout proceeds nor the Fortune Transactions belonged to SPIB.

 (ECF No. 21 at 53–59.)

        The Court has fully considered all of the Appellants’ arguments on the issue of

 intent to hinder transfers. The Court finds that as to all of these arguments Appellants

 have failed to convincingly establish that the Bankruptcy Court’s factual determinations

 and analysis with regard to the existence of the fraudulent intent required for liability

 under section 38-8-105(1)(a) were clearly erroneous. As such, this portion of their


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 appeal is denied.

        2.    PEMG-Payout Claims

        With regard to the PEMG transactions, the Bankruptcy Court concluded as

 follows:

              On May 23, 2006, PEMG paid HLSP IB the first $900,000.
              Rather than transfer those funds to SPIB as had been done
              in the past, Bagley and Jackson transferred the funds to
              themselves. Bagley’s family partnership, Princeton Partners,
              received $720,000, and Jackson received $180,000. Each
              received property of SPIB as an initial transferee or as a
              mediate transferee not acting in good faith, and Bagley was
              the entity for whose benefit the transfer to Princeton Partners
              was made. The Court will give each credit for the funds
              returned to SPIB, $720,000 from Princeton Partners and
              $144,000 from Jackson, although the funds should have
              been treated as SPIB income rather than as capital
              contributions. The difference, $0 for Bagley and Princeton
              Partners and $36,000 from Jackson, is recoverable under
              § 550.

              On September 1, 2006, PEMG paid HLSP IB the remaining
              $900,000. Princeton Partners received $712,000, and
              Jackson received $178,000. Giving Bagley and Princeton
              Partners credit for $425,600 and Jackson credit for
              $142,400, the difference, $286,400 for Bagley and Princeton
              Partners and $35,600 for Jackson, is recoverable under
              § 550. The Court will enter judgment in favor of Trustee for
              those amounts.

 (Appellants’ App’x at 1295.)

        The Appellants argue that the Bankruptcy Court’s determination regarding the

 PEMG payout is erroneous for two reasons: (1) the claim is untimely; and (2) HLSP IB

 was not owned by SPIB. (ECF No. 21 at 27–28.)

              a.     Timeliness of PEMG-based Claims

        Under 11 U.S.C. § 546(a)(1),

              [a]n action or proceeding under section 544, 545, 547, 548,
              or 553 of this title may not be commenced after the earlier
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              of--
                     (1) the later of--

                            (A) 2 years after the entry of the order for relief;
                            or

                            (B) 1 year after the appointment or election of
                            the first trustee under section 702, 1104, 1163,
                            1202, or 1302 of this title if such appointment
                            or such election occurs before the expiration of
                            the period specified in subparagraph (A).

       The Appellants contend that the PEMG payout claim is not timely under 11

 U.S.C. § 546(a)(1)(A) because “PEMG does not appear in the Amended Complaint” and

 “[n]othing established that distribution of the PEMG Buyout proceeds arose out of any

 conduct, transaction, or occurrence set out or attempted to be set out in the Amended

 Complaint.” (ECF No. 27 at 28.) They further argue that “[t]he distribution of the PEMG

 Buyout proceeds occurred more than four years prior to the Petition Date” and that the

 claim is now extinguished under CUFTA § 108. (Id.)

       The Trustee responds that although the PEMG transaction was not explicitly

 named in the First Amended Complaint, the substance of the transaction was pled:

              34. From a review of the records and through discovery in
              other actions against the Debtor and its various affiliated
              entities, the Trustee has determined that the Individual
              Defendants denuded the assets of the Debtor and
              transferred such assets to themselves and other entities
              owned and controlled by them. In addition to cash transfers,
              the Trustee believes that the Defendants caused the Debtor
              to pay them inflated and unreasonable consulting fees, to
              make improper and illegal loans to them, and to distribute
              assets to them under the guise of false and fraudulent
              expense reimbursements. The Individual Defendants also
              caused the Debtor to pay certain of their individual tax
              liabilities with corporate funds.

 (Appellants’ Appendix at 52.) Moreover, the Trustee argues that the claims were tried


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 by consent. As the Bankruptcy Court determined:

               Rule 15 of the Federal Rules of Civil Procedure,
               incorporated in adversary proceedings by Fed. R. Bankr. P.
               7015, permits amendment after trial to conform to the
               evidence particularly in cases where there is no surprise to
               the opposing party. New Mexico v. Dep’t of Interior, 854
               F.3d 1207, 1231 (10th Cir. 2017). Here, the issues were
               discussed at both summary judgment and at trial, and
               evidence relating to the transfers was admitted by
               stipulation. The Court finds no prejudice. Amendment under
               Rule 15 should be ‘liberally granted,’ and the Court finds
               amendment appropriate in this case.

 (Appellants’ App’x at 1284 n.7.)

        Here, notwithstanding the Appellants’ arguments to the contrary, the Court finds

 both that the substance of the PEMG claims was pled in the First Amended Complaint

 and the claims were tried by consent. Moreover, the amendments allowed by the

 Bankruptcy Court relate back to the First Amended Complaint as a “claim or defense

 that arose out of the conduct, transaction, or occurrence set out—or attempted to be set

 out—in the original pleading.” Fed. R. Civ. P. 15(c)(1)(B). Finally, for the reasons set

 forth in Part III.A.1.E, the Court rejects the Appellants’ argument that the PEMG claims

 are barred pursuant to the applicable statute of limitations.

               b.     Conclusion that PEMG Buyout Proceeds Should Have Gone to
                      SPIB

        The Appellants contend that “[t]he sole basis for the Bankruptcy Court’s

 conclusion that the PEMG Buyout proceeds were SPIB’s property was that SPIB owned

 HLSP IB” even though “the parties had stipulated that HLSP IB was owned by Princeton

 Partners and Jackson, not SPIB.” (ECF No. 21 at 27.) As such, they argue that “the

 avoidance of the transfer of the PEMB Buyout proceeds must be reversed for clear

 error.” (ECF No. 21 at 27.)

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        In response, the Trustee cites Lincoln v. BNSF Ry. Co., 900 F.3d 1166 (10th Cir.

 2018) for the proposition that “[e]ven though a court may not overlook stipulations as a

 matter of course, no rule of law requires a court to base the resolution of the case on

 stipulations of the parties.” (ECF No. 30 at 6.)

        As the Bankruptcy Court recognized, when PEMG had previously paid HLSP IB,

 those payments were transferred to SPIB and recognized as SPIB income on its

 financial statements and tax returns. (Appellants’ App’x at 1284.) Thereafter, when the

 parties negotiated a payout of the remainder of the PEMG contract, “Bagley and

 Jackson diverted the funds to themselves (in Bagley’s case, to his family partnership

 Princeton Partners).” (Id.) The Court determined that “the funds paid to HLSP IB

 should have been transferred to SPIB and recognized as SPIB income, just as prior

 payments had been” and that “SPIB had a sufficient interest in the funds included in the

 PEMG payout that the transfers of the funds from HLSP IB to Princeton Partners and to

 Jackson should be considered transfers of SPIB funds.” (Id.)

        While the Appellants attempt to make much out of the Bankruptcy Court’s

 statement that the PEMG opportunity was “consummated through a SPIB-owned entity,

 HLSP IB,” when in fact the parties had stipulated that HLSP IB was owned by Princeton

 Partners and Jackson, yet again the Court cannot conclude that these factual

 determinations of the Bankruptcy Court were clearly erroneous. Among other things,

 the Appellants overlook the fact that Bagley wrote in an e-mail that “SPIB controls

 HLSP.” (Appellants’ App’x at 1273.)

        Moreover, contrary to the Appellants’ conclusory assertion, it is far from evident

 that “[t]he sole basis for the Bankruptcy Court’s conclusion that the PEMG Buyout


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 proceeds were SPIB’s property was that SPIB owned HLSP IB.” (ECF No. 21 at 27.)

 Instead, the Bankruptcy Court relied on the fact that: (1) the PEMG payouts were

 treated differently from prior PEMG payments to HLSP IB; and (2) SPIB had previously

 recognized the PEMG payments from HLSP IB as income on its own balance sheet and

 tax returns. (Appellants’ App’x at 1284.)

        Based on the foregoing, the Court concludes that Appellants have failed to

 discharge their onerous burden of convincing the undersigned that the Bankruptcy

 Court’s determination that the PEMG payouts to Princeton Partners and Jackson

 “should be considered transfers of SPIB funds” was clearly erroneous. This portion of

 the Appellants’ appeal is therefore also denied.

        3.     Amount of the Judgment

               a.     Value of the Fortune Transactions and Monetary Recovery

        The Bankruptcy Court held that SPIB transferred the Fortune Transactions to

 HLSP Holdings for the benefit of Bagley, Jackson, and Takacs and entered judgment

 pursuant to 11 U.S.C. § 550 based on the value of the Fortune stock transferred to

 HLSP Holdings. (Appellants’ App’x at 1294.) The Appellants raise three arguments

 regarding the amount of the judgment.

        First, Appellants argue that the Trustee failed to prove the value of the

 transferred property under section 550(a). (ECF No. 21 at 49.) Because the purpose of

 section 550 is to return the bankruptcy estate to its pre-transfer position, Appellants

 contend that “SPIB’s pre-transfer position would be before the closing of the Fortune

 Agreement, not after the transfer of the [Fortune Transactions] and Fortune’s delivery of

 the stock to HLSP Holdings.” (Id. at 48–49.) Moreover, the Appellants argue that the

 “evidence did not support the value of SPIB’s alleged property . . . was 100% of the
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 Fortune stock” and that the Trustee failed to prove that SPIB could have realized any

 value from the letters of intent. (Id. at 49.)

        Second, the Appellants contend that “[t]he Bankruptcy Court abused its

 discretion by entering a monetary judgment against Bagley and Jackson based on the

 value of the Fortune stock because Trustee failed to show any reason—let alone a

 ‘compelling reason’—to depart from the default rule that property should be recovered.”

 (Id. at 51.)

        Third, the Appellants argue that the Bankruptcy Court erred in relying on Bagley’s

 2006 income tax valuation of unrestricted shares received from Fortune as evidence of

 the value of the restricted shares Bagley and Jackson received through HLSP Holdings.

 (Id. at 50.)

        The Trustee responds that the Fortune Transactions “were sold to Fortune in

 exchange for publicly traded stock in Fortune” and that “[t]he value of the stock

 established the value of the transfer.” (ECF No. 30 at 29.) It argues that “[t]he

 Bankruptcy Court had sufficient data to calculate damages and committed no error in

 doing so.” (Id.)

        The Trustee further argues that the Appellants have waived their arguments

 regarding the value of the restricted stock and whether there was a “compelling” reason

 for the monetary judgment because they did not raise them below. (ECF No. 30 at 30–

 31.) Appellants neither contest this assertion in their reply nor identify any place in the

 record where they previously raised these arguments before the Bankruptcy Court.

 (See generally ECF No. 52.) Given Appellants’ failure to respond to the Trustee’s

 argument with case law or citations to the record, the Court finds that Appellants have


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 waived these arguments and will not consider them further.

        Moreover, the Court cannot conclude that the Bankruptcy Court erred in

 calculating the value of the Fortune Transactions. Appellants’ arguments that the

 SPIB’s pre-transfer position is before the closing of the Fortune Agreement ignores the

 Bankruptcy Court’s fundamental determination that the Fortune Transactions should

 have been SPIB’s property. As such, the Court finds that the Bankruptcy Court did not

 err by basing the judgment on the value of the Fortune stock transferred to HLSP

 Holdings.

        This portion of the Appellants’ appeal is therefore denied.

               b.     Cap of Judgment

        In its June 11, 2020 Order on Motion to Alter or Amend, the Bankruptcy Court

 denied Defendants’ request that the judgment be capped at the total of the outstanding

 creditor claims, the administrative claims, and the Trustee’s fees:

               Each Defendant’s liability is based on his or its receipt of
               avoidable transfers, as required by 11 U.S.C. § 550. In
               order to place an equitable limitation on Trustee’s ability to
               collect any of the judgment amounts, the Court would need
               evidence as to the collectability of each judgment, the costs
               of collection, the amount of allowed claims of the estate, and
               the total amount of estate expenses, including attorney’s
               fees that have not yet been sought, for services attorneys
               continue to provide, including appeals that have just been
               commenced and may take years to resolve. At this time, no
               such evidence is available. The Court cannot grant relief
               based on a hypothetical set of facts or circumstances. At
               such time as the relevant amounts are certain or can
               reasonably be determined with certainty, no later than the
               time Trustee files his final report, the Court will entertain a
               motion regarding the treatment of any identified surplus.

 (Appellants’ App’x at 1444.)

        Takacs and the Appellants argue that the Bankruptcy Court erred “when it

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 refused the defendants’ request that the judgment be capped at the total of the

 outstanding creditor claims, the administrative claims and the trustee’s fees.” (ECF No.

 19 at 52; see also ECF No. 21 at 59–60.) Takacs and Appellants cite In re DSI Renal

 Holdings, LLC, 2020 WL 550987 (Bankr. D. Del. Feb. 4, 2020) for the proposition that

 any recovery obtained by the Trustee must be limited to the total amount necessary to

 satisfy all allowed creditor claims in the Debtors’ bankruptcy case. Takacs further

 argues that “[w]hile quantifying what [the amounts of the claims] are might require

 further proceedings, the legal determination that a cap on damages focused on the

 amount of claims was ripe for consideration.” (ECF No. 19 at 53.) As such, he

 requests that the Court reverse the Bankruptcy Court’s order denying the defendants’

 motion to alter or amend the judgment and remand to the Bankruptcy Court to

 recalculate damages limited to the amount of any claims against the SPIB bankruptcy

 estate. (Id. at 56.)

        Critically, however, the Bankruptcy Court did not reject Takacs’s and the

 Appellants’ requests to limit the judgment outright. To the contrary, it determined only

 that the request was merely premature before it received evidence as to “the

 collectability of each judgment, the costs of collection, the amount of allowed claims of

 the estate, and the total amount of estate expenses, including attorney’s fees that have

 not yet been sought, for services attorneys continue to provide, including appeals that

 have just been commenced and may take years to resolve.” (Appellants’ App’x at

 1444.) The parties have not presented the Court with any controlling case law finding

 that it was erroneous for the Bankruptcy Court to wait to adjudicate the treatment of any

 surplus until it had additional evidence, nor is the Court aware of any such case law.


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       As such, the Court cannot conclude that the Bankruptcy Court’s denial of the

 Rule 9023 motion was erroneous. This portion of Takacs and the Appellants’ appeal is

 denied.

 B.    Trustee’s Cross Appeals (ECF Nos. 30 & 31)

       1.     Waiver of Cap of the Judgment

       In the Order on Motion to Alter or Amend, the Bankruptcy Court rejected the

 Trustee’s argument that Defendants’ request to cap the bankruptcy judgment was “in

 the nature of an affirmative defense” and therefore concluded that Defendants did not

 waive “any right to object to treatment of any amount identified as ‘surplus,’ beyond that

 needed to pay allowed claims and expenses of the estate.” (Appellants’ App’x at 1444.)

 Citing Racher v. Westlake Nursing Home Limited Partnership, 871 F.3d 1152, 1163

 (10th Cir. 2017) for the proposition that “damages cap[s] must be pled as an affirmative

 defense in federal court,” the Trustee contends that the Bankruptcy Court abused its

 discretion in determining that Takacs and the Appellants had not waived any right to

 object to treatment of any amount identified as a “surplus.” (ECF No. 31 at 45.)

       Ultimately, however, the Trustee cites no binding case law supporting his

 argument that a request to cap a bankruptcy judgment is an affirmative defense that is

 waived if not pleaded, nor is the Court aware of any. As such, the Court cannot

 conclude that the Bankruptcy Court’s determination that the Defendants had not waived

 the argument is erroneous. This portion of the Trustee’s cross-appeal is therefore

 denied.

       2.     Breach of Fiduciary Duty Claim

       The Bankruptcy Court found that the 3-year statute of limitations, set forth in

 Colorado Revised Statutes § 13-80-101(1)(f), for the Trustee’s breach of fiduciary
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 claims expired pre-petition. (Appellants’ App’x at 1298.) The Bankruptcy Court further

 determined that the doctrine of adverse domination did not equitably toll the statute of

 limitations for the breach of fiduciary duty claims because: (1) it is not clear that the

 doctrine applies to limited liability companies (citing In re Sandburg Mall Realty Mgmt.

 LLC, 563 B.R. 875, 888–89 (Bankr. C.D. Ill. 2017) (declining to apply the doctrine of

 adverse domination to an LLC)); and (2) even if the doctrine were applicable to LLCs, it

 was not applicable in this case where every member of the LLC participated in the

 transaction. (Id.)

        While the Trustee argues that the doctrine of adverse domination tolls the statute

 of limitations period for breach of fiduciary duty claims, he fails to cite any binding case

 law where the adverse domination doctrine was applied to a LLC, nor is the Court

 aware of any such law. 10 As such, the Court cannot conclude that the Bankruptcy Court

 erred in determining that the adverse domination doctrine does not toll the statute of

 limitations applicable to the Trustee’s claims for breach of fiduciary duty claims.

 Because the Court affirms the Bankruptcy Court’s determination that the statute of

 limitations has expired, the Court need not address the parties’ arguments regarding

 waiver.

        Accordingly, this portion of the Trustee’s cross-appeal is denied.

        3.     Alter Ego and Corporate Veil Piercing

        The Trustee argues that the Bankruptcy Court erred in finding that SPIB was not

 the alter-ego of Bagley and Jackson. (ECF No. 30 at 48–58; ECF No. 31 at 35–45.)

        10
           To the extent that the Trustee relies on cases applying the doctrine of adverse
 domination to corporations, such arguments are unavailing. After all, Colorado courts recognize
 a clear distinction between LLCs and corporations. See Weinstein v. Colborne Foodbiotics,
 LLC, 302 P.3d 263, 266 (Colo. 2013).

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               Traditional piercing penetrates the corporate veil and
               imposes liability on individual shareholders for the
               obligations of the corporation. Individual liability is
               appropriate when the corporation is merely the alter ego of
               the shareholder, and the corporate structure is used to
               perpetuate a wrong. In such extraordinary circumstances,
               the courts may ignore the independent existence of the
               business entity and pierce the corporate veil to achieve an
               equitable result.

 In re Phillips, 139 P.3d 639, 644 (Colo. 2006) (en banc) (internal citations omitted).

        To prevail on a claim of alter-ego or veil-piercing, the Court must find by a

 preponderance of the evidence that: (1) the entity was a ‘mere instrumentality’ for

 carrying out the affairs of the alleged alter-ego; (2) the LLC form is used to perpetrate a

 wrong; and (3) disregarding the legal entity would achieve an equitable result. Boxer

 F2, L.P. v. Bronchick, 722 F. App’x 791, 798 (10th Cir. 2018); Colo. Rev. Stat. § 7-80-

 107.

        An alter ego relationship exists when the corporation is a “mere instrumentality

 for the transaction of the shareholders’ own affairs, and there is such unity of interest in

 ownership that the separate personalities of the corporation and the owners no longer

 exist.” In re Phillips, 139 P.3d at 644 (quoting Krystkowiak v. W.O. Brisben Co., Inc., 90

 P.3d 859, 867 n.7 (Colo. 2004)). In making this determination, a court takes into

 account the following factors: (1) whether the corporation is operated as a distinct

 business entity, (2) whether funds and assets are commingled, (3) whether adequate

 corporate records are maintained, (4) the nature and form of the entity’s ownership and

 control facilitate misuse by an insider, (5) whether the business is thinly capitalized, (6)

 whether the corporation is used as a ‘mere shell,’ (7) whether shareholders disregard

 legal formalities, and (8) whether corporate funds or assets are used for noncorporate


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 purposes. Id.

         The Bankruptcy Court did not find that HLSP IB, HLPEF/SP Management, and

 ANSM were alter egos of each other or SPIB. (Appellants’ App’x at 1300.) Specifically,

 the Bankruptcy Court determined:

               Here, the Court finds each of the three Stone Pine entity
               Defendants was operated as a distinct business entity, with
               the three different Defendants involved in separate business
               deals, having separate income streams, and separate
               investors. While funds were transferred back and forth
               between the Defendants and SPIB, the Court cannot find the
               companies’ assets commingled. Funds were tracked
               separately, with detailed records maintained by SPAS. The
               Court does not find Bagley or the other individual
               Defendants misused the corporate form of HLSP IB,
               HLPEF/SP Management, or ANSM. The entities were not
               thinly capitalized, and the Court cannot find them to be mere
               shells. It is not clear their corporate formalities were ignored,
               and the Court cannot find their assets were used for non-
               corporate purposes.

 (Id.)

         The Trustee speculates that “the Bankruptcy Court made a determination on the

 issue of equity as it relates to the imposition of alter-ego in favor of all the Defendants

 based upon the Bankruptcy Court’s belief that the Trustee’s right to relief for avoidance

 of fraudulent transfers was ‘more appropriate’ than an equitable alter-ego finding” and

 contends that “the Bankruptcy Court then didn’t analyze the underlying factual record

 that supported the CUFTA claims for its applicability to the issues to be addressed

 under alter-ego.” (ECF No. 31 at 36–37.)

         According to the Trustee, “the evidence conclusively establishes through the

 Defendants’ testimony and their contemporaneous email correspondence and

 communications their desire to avoid liability to ART and after the unfavorable alter-ego


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 outcome in the Texas State Court litigation, to use SPIB as a pawn in a game of delay

 and litigation strategies.” (Id. at 41.) Moreover, the Trustee argues that Bagley and

 Takacs siphoned off millions in profits from the Fortune transaction while causing SPIB

 to pay their personal expenses. (Id. at 43–44.)

        While a close call, and while the Court may have concluded to the contrary were

 it presented with this issue in the first instance, on this record the Court cannot conclude

 on appeal that the Bankruptcy Court’s factual determinations on this issue were clearly

 erroneous, or that the Bankruptcy Court’s equitable determinations constituted an abuse

 of discretion. Among other things, the Court agrees with the Bankruptcy Court’s

 conclusion that although Bagley, Takacs, and Jackson participated in a scheme to

 transfer SPIB’s assets to other entities and to themselves, those transfers do not rise to

 the level of ignoring the corporate existence of each entity. Likewise, Bagley, Takacs,

 and Jackson appropriately used the corporate form for the original contract between

 ART and Matisse and SPAS continued to maintain adequate corporate records on

 SPIB’s behalf.

        These portions of the Trustee’s cross appeals are therefore also denied.

 C.     Motion to Strike Appendix Entry

        In the Motion to Strike Appendix Entry, Appellants and Takacs move to strike

 pages 4825–4848 of the Trustee’s appendix from the record, which include the text of

 the findings of fact made by the Bankruptcy Court with citations to the record added by

 the Trustee. (ECF No. 46.)

        Ultimately, because pages 4825–4848 of the Trustee’s appendix were not before

 the Bankruptcy Court at the time of its decision, the Court grants the motion and notes

 that it has not relied on this portion of the appendix in resolving the parties’
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 appeals. See In re Jester, 2015 WL 6389290, at *11, n.83 (B.A.P. 10th Cir. Oct. 22,

 2015) (granting motion to strike certain documents not before bankruptcy court at the

 time of its decision); Adams v. Royal Indem. Co., 99 F.3d 964, 967 n.3 (10th Cir.

 1996) (court should strike documents in appendix not presented to trial court); Aero–

 Med., Inc. v. United States, 23 F.3d 328, 329 n.2 (10th Cir. 1994) (court should strike

 documents in appendix not presented to trial court).

 D.    Motion to Strike Cross-Appeal

       In the Motion to Strike Cross-Appeal, Takacs asks the Court to strike the

 Trustee’s cross-appeal from the Bankruptcy Court’s Order on Motion to Alter or Amend.

 (ECF No. 15.) He argues that taking the cross-appeal was “neither necessary nor

 appropriate” because the Trustee is not aggrieved by the June 5, 2020 order. (Id. at 3

 (citing Leprino Foods Co. v. Factory Mut. Ins. Co., 453 F.3d 1281, 1290 (10th Cir.

 2006)).)

       However, because the Court affirms the portions of the Bankruptcy Court’s order

 on the issues that are the subject of the Trustee’s Cross-Appeal, it need not decide

 whether the cross-appeal was necessary or appropriate. Accordingly, the Motion to

 Strike Cross-Appeal is denied as moot.

                                    IV. CONCLUSION

       For the reasons set forth above, the Court ORDERS as follows:

 1.    The judgment of the Bankruptcy Court is AFFIRMED in its entirety;

 2.    The Motion to Strike Appellee’s Cross-Appeal from Bankruptcy Court’s June 5,

       2020 Order (ECF No. 15) is DENIED as MOOT;

 3.    The Motion to Strike Appellee’s Appendix Entry (ECF No. 46) is GRANTED;


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 4.    The Clerk shall enter judgment in favor of Appellee and against Appellants, and

       shall terminate this case; and

 5.    Appellee shall have his costs incurred in this Court, if any, upon compliance with

       D.C.COLO.LCivR 54.1.


       Dated this 17th day of November, 2021.

                                                BY THE COURT:



                                                ______________________
                                                William J. Martinez
                                                United States District Judge




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